






NO. 07-02-0286-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



SEPTEMBER 5, 2002



______________________________




MICHAEL VILLAFANO, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 260TH DISTRICT COURT OF ORANGE COUNTY;



NO. D-020,036-R; HONORABLE BUDDIE J. HAHN, JUDGE



_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

	Appellant Michael Villafano filed a Motion to Dismiss Appeal on August 7, 2002,
averring that he no longer wishes to prosecute his appeal.   The Motion to Dismiss is
signed by both appellant and his attorney.  

	Without passing on the merits of the case, appellant's motion for voluntary dismissal
is granted and the appeal is hereby dismissed.  Tex. R. App. P. 42.2.   Having dismissed 


the appeal at appellant's personal request, no motion for rehearing will be entertained and
our mandate will issue forthwith.  



							Phil Johnson

						    	    Justice
































Do not publish.



ealers to sell narcotics to appellant.  Arrangements were made for appellant
to travel from Missouri to Texas to negotiate a deal.  After appellant obtained the money for
the buy, undercover officers displayed packages of cocaine and marihuana and handed them
to appellant.  He handed the packages back and began counting the money.  The arrest team
was signaled to arrest appellant. 

	 By subparts A and B of his first issue, appellant contends the evidence is both legally
and factually insufficient to support his conviction.  We disagree.  Considering that the
gravamen of appellant's complaints is that the State failed to establish his intentional and
knowing possession of cocaine, we will examine the issues concurrently. 

	 When both the legal and factual sufficiency of the evidence are challenged, we must
first determine whether the evidence is legally sufficient to support the verdict.  Clewis v.
State, 922 S.W.2d 126, 133 (Tex.Cr.App. 1996).  It is a fundamental rule of criminal law that
one cannot be convicted of a crime unless it is shown beyond a reasonable doubt that the
defendant committed each element of the alleged offense.  U.S. Const. amend. XIV; Tex.
Code Crim. Proc. Ann. art. 38.03 (Vernon Supp. 2004-05); Tex. Pen. Code Ann. § 2.01
(Vernon 2003).  In conducting a legal sufficiency review, we must determine whether, after
viewing the evidence in the light most favorable to the prosecution, any rational trier of fact
could have found the essential elements of the crime beyond a reasonable doubt.  Jackson
v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 2789, 61 L.Ed.2d 560, 573 (1979); Geesa v.
State, 820 S.W.2d 154, 157 (Tex.Cr.App. 1991), overruled on other grounds, Paulson v.
State, 28 S.W.3d 570, 573 (Tex.Cr.App. 2000).  This standard gives full play to the
responsibility of the trier of fact to resolve conflicts in the testimony, to weigh the evidence,
and to draw reasonable inferences from basic facts to ultimate facts.  Jackson, 44 U.S. at 
319.  As an appellate court, we may not sit as a thirteenth juror, but must uphold the jury's
verdict unless it is irrational or unsupported by more than a mere modicum of evidence. 
Moreno v. State, 755 S.W.2d 866, 867 (Tex.Cr.App. 1988).

	After conducting a legal sufficiency review under Jackson, we may proceed with a
factual sufficiency review.  Clewis, 922 S.W.2d at 133.  The Court of Criminal Appeals has
directed us to ask whether a neutral review of all the evidence, both for and against the
finding, demonstrates that the proof of guilt is so obviously weak as to undermine confidence
in the fact finder's determination, or the proof of guilt, although adequate if taken alone, is
greatly outweighed by contrary proof.  Johnson v. State, 23 S.W.3d 1, 11 (Tex.Cr.App. 2000)
(adopting complete civil factual sufficiency formulation); see also King v. State, 29 S.W.3d
556, 563 (Tex.Cr.App. 2000).  Accordingly, we will reverse the fact finder's determination only
if a manifest injustice has occurred.  Johnson, 23 S.W.3d at 12.  In conducting this analysis,
we may disagree with the jury's determination, even if probative evidence supports the verdict,
but must avoid substituting our judgment for that of the fact finder.  See Santellan v. State,
939 S.W.2d 155, 164 (Tex.Cr.App. 1997).

	To establish possession of a controlled substance, the State was required to prove
beyond a reasonable doubt that appellant exercised care, custody, control, or management
over the substance knowing it was contraband.  See Tex. Health &amp; Safety Code Ann. §§
481.002(38) &amp; 481.112 (a) (Vernon 2003); see also King v. State, 895 S.W.2d 701, 703
(Tex.Cr.App. 1995).  In a possession with intent to deliver case, the "intent to deliver" element
may be proved by circumstantial evidence, such as the quantity of drugs possessed, the
manner of packaging, and the presence of the accused in a drug house.  See Moss v. State,
850 S.W.2d 788, 797 (Tex.App.-Houston [14th Dist] 1993, pet. ref'd). 

	Appellant contends that evidence is legally and factually insufficient to show that he
was (1) in possession of the cocaine (2) which weighed 400 grams or more.  Accordingly, our
review will primarily focus on the evidence of appellant's possession and the weight of the
cocaine.  

	While working in an undercover capacity, Agent Larry Arredondo of the Reeves County
Sheriff's Office made arrangements with appellant to make a narcotics transaction to be
completed in Amarillo utilizing a "reverse sting" operation.  After several phone conferences,
appellant agreed to meet the agent in Amarillo.  He traveled from St.  Louis, Missouri to meet
the agent at a restaurant in Amarillo.  At the first meeting, appellant, accompanied by his
girlfriend, began to negotiate the price and quantity of marihuana and cocaine to be furnished. 
Appellant left and when he returned, the agent informed him of the quantity and price of the
drugs.  Per the agent's instructions, appellant followed him to a post office parking lot, where
another undercover officer waited in a van with the drugs.  After appellant got in the van, he
obtained the purchase money from his girlfriend's backpack and was shown a kilogram of
cocaine and one pound of marihuana.  The package of cocaine was handed to appellant;
however, he handed it back and he and an agent counted the money.  The arrest team was
signaled to arrest appellant.

	Officer Nevins of the Amarillo Police Department testified that according to his
investigation, appellant's left middle fingerprint was found on the cocaine package but no
prints were found on the packaged marihuana sample.  A toxicology laboratory analyst
testified that she analyzed the brick of cocaine.  On the first test, the brick weighed 2.3 pounds
and her analysis of a sample of the cocaine was 88.5% pure.  A few months later, she
conducted another analysis.  At that time, the brick weighed 2.2 pounds and was found to be
92.4% pure.  She also testified that the amount of cocaine exceeded 400 grams. 

	By its charge, the court instructed the jury that "possession" means to have actual care,
custody, control or management.  The charge also contained an instruction on acting
intentionally or with intent and acting with knowledge or knowingly.  Appellant did not object
to these instructions and does present any charge error on appeal. 

	Although appellant concedes that the fingerprint evidence shows he touched the
cocaine package, he contends the agents never allowed him to exercise "actual care,
custody, control, or management of the drugs."  Thus, he argues no rational trier of fact could
conclude he possessed the drugs.  However, appellant's argument is flawed because
sections 481.002(38) and 481.112(a) do not require that a defendant must have had the
"exclusive actual care, custody, control, or management" of the drugs.  Further, neither the
statute nor the court's definition require that control must be exclusive, but instead,
possession under joint control may be exercised with one or more persons.  Cude v. State,
716 S.W.2d 46, 47 (Tex.Cr.App. 1986). 

	Appellant argues the evidence is factually insufficient because it does not show he had
exclusive possession of the cocaine.  However, as above noted, the applicable statutes do
not require that possession be "exclusive."  Moreover, appellant did not present an objection
to the definition as contained in the charge or request a definition tailored to the evidence and
argument presented here.  Accordingly, appellant's implied complaint about the definition of
the term possession as charged is waived and his complaint about the definition of the term
possession presents nothing for our review.  Tex. Code Crim Proc. Ann. art. 36.14 (Vernon
Supp. 2004-05); see also Franklin v. State, 12 S.W.3d 473, 475 (Tex.Cr.App. 2000). 
Accordingly, appellant's sub-parts A and B of issue one are overruled. 

	By his second issue, appellant contends his trial counsel was ineffective for failing to
raise the defense of entrapment.  We disagree.

	 A claim of ineffective assistance of counsel is reviewed under the standard set out in
Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). (1)  Under
Strickland, a defendant must establish that (1) counsel's performance was deficient (i.e., fell
below an objective standard of reasonableness), and (2) there is a reasonable probability that
but for counsel's deficient performance, the result of the proceeding would have been
different, a reasonable probability being a probability sufficient to undermine confidence in the
outcome.  Rylander v. State, 101 S.W.3d 107, 110 (Tex.Cr.App. 2003); see also Hernandez
v. State, 726 S.W.2d 53, 55 (Tex.Cr.App. 1986).  In other words, appellant must demonstrate
that the deficient performance prejudiced his defense.  Mitchell v. State, 68 S.W.3d 640, 642
(Tex.Cr.App. 2002).  Failure to make the required showing of either deficient performance or
sufficient prejudice defeats the ineffectiveness claim.  Garcia v. State, 887 S.W.2d 862, 880
(Tex.Cr.App. 1994), cert. denied, 514 U.S. 1021, 115 S.Ct. 1368, 131 L.Ed.2d 223 (1995).  

	The adequacy of defense counsel's assistance is based upon the totality of the
representation rather than by isolated acts or omissions of trial counsel.  Id.  Although the
constitutional right to counsel ensures the right to reasonably effective counsel, it does not
guarantee errorless counsel whose competency or accuracy of representation is to be judged
by hindsight.  Ingham v. State, 679 S.W.2d 503, 509 (Tex.Cr.App. 1984); see also Ex Parte
Kunkle, 852 S.W.2d 499, 505 (Tex.Cr.App. 1993).  Appellate review of trial counsel's
representation is highly deferential and presumes that counsel's conduct fell within the wide
range of reasonable and professional representation. Bone v. State, 77 S.W.3d 828, 833
(Tex.Cr.App. 2002); see also&nbsp;Mallett v. State, 65 S.W.3d 59, 63 (Tex.Cr.App. 2001).  Also, any
allegation of ineffectiveness must be firmly founded in the record, and the record must
affirmatively demonstrate the alleged ineffectiveness.  Thompson v. State, 9 S.W.3d 808, 813
(Tex.Cr.App. 1999).

	Appellant concedes that although his counsel raised the defense of entrapment, he
was ineffective for failing to pursue it.  Citing Strickland, appellant recognizes the two-step
analysis.  However, he does not take into consideration that as an appellate court, we must
presume that counsel made all significant decisions in the exercise of reasonable professional
judgment.  See Jackson v. State, 877 S.W.2d 768, 771 (Tex.Cr.App. 1994); Delrio v. State,
840 S.W.2d 443, 447 (Tex.Cr.App. 1992).

	Because the defense of entrapment was raised by appellant's counsel, it cannot be
argued that entrapment was overlooked by counsel.  To the contrary, the record shows that
the defense was raised and considered, but not pursued.  Considering the strong presumption
that counsel's conduct might be considered sound trial strategy, appellant's second issue is
overruled.

	Accordingly, the judgment of the trial court is affirmed.   


							Don H. Reavis

							     Justice



Do not publish.

		

  	

1. The Court of Criminal Appeals has overruled both Ex parte Duffy, 607 S.W.2d 507,
516 (Tex.Cr.App. 1980) and Ex parte Cruz, 739 S.W.2d 53 (Tex.Cr.App. 1987) by its decision
in Hernandez v. State, 988 S.W.2d 770 (Tex.Cr.App. 1999).

